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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA


  MAP LEGACY INC. d/b/a
  SIGNATURE GRAND,
                                                   Case No.: 0:20-cv-60815
                    Plaintiff,

               v.

  ZURICH AMERICAN
  INSURANCE COMPANY,

                    Defendant.


       ZURICH AMERICAN INSURANCE COMPANY’S MOTION TO DISMISS FOR
       FAILURE TO STATE A CLAIM AND INCORPORATED SUPPORTING BRIEF




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  I.       INTRODUCTION

           Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Zurich American

  Insurance Company (“Zurich”), , hereby moves to dismiss with prejudice Plaintiff’s First

  Amended Complaint (“FAC”) for failure to state a claim.

           Plaintiff seeks insurance coverage for losses allegedly sustained due to the virus that

  causes COVID-19 and related stay-at-home and shutdown orders. But Zurich’s Policy expressly

  precludes coverage “for loss or damage consisting of, directly or indirectly caused by,

  contributed to, or aggravated by the presence, growth, proliferation, spread, or any activity of

  ‘microorganisms,’ ” and “microorganism” is specifically defined to include “virus.” Plaintiff

  seeks to evade this exclusion by alleging that the Policy both covers and excludes loss caused by

  “microorganisms,” suggesting that this claimed ambiguity leads to a hopeless interpretational

  quagmire. On the contrary, the Policy makes a clear distinction between microorganisms that are

  the result of another covered cause of loss (such as when a broken water pipe leaves furniture

  soggy, and mold or mildew results—a covered loss), and microorganisms that are the cause of

  loss themselves (such as spread of mildew in the absence of any other covered cause—an

  excluded loss). Here, the presence of COVID-19 virus is alleged to be the cause of Plaintiff’s

  loss, not the result of another covered cause, and so the loss at issue is plainly excluded. No

  amount of artful characterization of the Policy can change this conclusion, and, indeed, Plaintiff

  can plead no facts that can evade the virus exclusion.

  Furthermore, Plaintiff is seeking recovery under policy provisions that afford coverage only if

  there has been “direct physical loss of or damage to” property. Numerous courts across the

  country, including many in Florida, have rejected claims like Plaintiff’s because, under Florida

  law as elsewhere, this policy language requires actual, concrete damage—a bedrock legal

  principle most recently reiterated by the Eleventh Circuit in Mama Jo’s Inc. v. Sparta Ins. Co.,


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  No. 18-12887, -- F. App’x --, 2020 WL 4782369, at *8 (11th Cir. Aug. 18, 2020). As a result,

  Plaintiff’s allegations of purely economic injury from the claimed presence of a virus do not state

  a plausible claim for coverage of its business income losses under Florida law. Accordingly, this

  Court should grant Zurich’s Motion and dismiss Plaintiff’s First Amended Complaint with

  prejudice.

  II.      FACTUAL BACKGROUND

           A.     Allegations of the Complaint

           Plaintiff alleges that “‘In 2019, a new coronavirus was identified as the cause of a disease

  outbreak that originated in China’ designated as SARS-CoV-2 also known as the 2019 Novel

  Corona Virus or COVID-19.” FAC ¶7. It alleges that the governor of Florida “declared that a

  State of Emergency exists in Florida as a result of the COVID-19 outbreak.” Id. at ¶15. It

  alleges that, “On March 10, 2020, Broward County issued a Declaration of Emergency due to the

  presence of COVID-19 posing ‘a clear and present threat to the health and welfare of the people

  of Broward County.’” Id. at ¶16. Finally, it alleges that “On March 22, 2020, Broward County

  issued Emergency Order 20-01 ordering the closure of all nonessential retail and commercial

  businesses due to ‘the propensity of [COVID- 19] to spread person to person and also because

  the virus is physically causing property damage due to its proclivity to attach to surfaces for

  prolonged periods of time.’” Id. at ¶19.1

           Plaintiff alleges that it has lost business income caused by the COVID-19 pandemic and

  Broward County’s Emergency Order 20-01 mandating closure of all nonessential retail and


  1
    According to the World Health Organization, the “official names” are “COVID-19” for the
  coronavirus disease and “SARS-CoV-2” for the virus that causes that disease. Hyperlink:
  Naming the coronavirus disease (COVID-19) and the virus that causes it, accessed November 3,
  2020. The Court may take judicial notice of these facts. Bryant v. Avado Brands, Inc., 187 F.3d
  1271, 1278 (11th Cir. 1999) (district court may take judicial notice of public records and facts
  not reasonably subject to dispute in considering a motion to dismiss); Fed. R. Evid. 201(b)(2).
  For convenience, this brief refers to the virus that causes COVID-19 as the “COVID-19 virus.”
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  commercial businesses, including Plaintiff’s venue, Signature Grand.           FAC ¶¶ 19, 27-31.

  Plaintiff alleges the presence of COVID-19 on its property. See id. ¶¶ 27, 30.

           Plaintiff alleges that Zurich issued an insurance policy providing coverage for its claims.

  FAC ¶4; Policy No. CPO 7443960-01, ECF 1-1 (“Policy”). Plaintiff appears to contend in the

  first two counts of the FAC that the Policy is ambiguous. Plaintiff also claims that Zurich

  breached the policy by denying coverage. (Id. ¶¶ 69-74.)

           According to the FAC, Zurich denied coverage for Plaintiff’s claim. See FAC ¶ 35 (citing

  ECF 1-2). Zurich concluded that the claimed presence of COVID-19 virus does not constitute

  “direct physical loss or damage” to property and, among other things, that no coverage is

  available under the Policy because the “microorganisms exclusion”—which specifically

  excludes loss or damage directly or indirectly caused by a “virus”—excludes coverage. See ECF

  1-2, at 2-3.

           B.      Terms of Zurich’s Policy

           The Policy contains coverage agreements for first-party property damage and related loss

  (the “Property Protection Portfolio,” ECF 1-1 at 2-155), as well as for general liability insurance

  (id. at 164 et seq.), for business auto insurance (id. at 210 et seq.), and other coverages. As

  relevant here, the “Property Protection Portfolio” coverage covers loss of business income in

  defined circumstances.

           Specifically, under the “Business Income Coverage Form” the Policy provides coverage

  for lost business income when the insured’s premises are physically damaged due to a covered

  cause of loss:

           We will pay for the actual loss of “business income” you sustain due to the
           necessary “suspension” of your “operations” during the “period of restoration”.
           The “suspension” must be caused by direct physical loss of or damage to property
           at a “premises” at which a Limit of Insurance is shown on the Declarations for
           Business Income. The loss or damage must be directly caused by a “covered
           cause of loss”.
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   Policy, ECF 1-1 at 116.

            Similarly, under that form, the Policy provides coverage for lost business income when a

   civil authority prohibits access to the insured’s premises due to direct physical loss of or damage

   to property within one mile of the premises, again caused by a covered cause of loss:

            We will pay for the actual loss of “business income” you sustain for up to the
            number of days shown on the Declarations for Civil Authority resulting from the
            necessary “suspension”, or delay in the start, of your “operations” if the
            “suspension” or delay is caused by order of civil authority that prohibits access to
            the “premises” or “reported unscheduled premises”. That order must result from a
            civil authority’s response to direct physical loss of or damage to property located
            within one mile from the “premises” or “reported unscheduled premises” which
            sustains a “business income” loss. The loss or damage must be directly caused by
            a “covered cause of loss”.

   Id.2

            The Policy defines “covered cause of loss” as “a fortuitous cause or event, not otherwise

   excluded, which actually occurs during this policy period.” Id. at 47. The Policy specifically

   excludes as a covered cause of loss “microorganisms.” Under Section B (“Excluded Causes of

   Loss”) of the Real and Personal Property Coverage Form (id. at 65), the Policy states:

            12. Microorganisms

            We will not pay for loss or damage consisting of, directly or indirectly caused by,
            contributed to, or aggravated by the presence, growth, proliferation, spread, or any
            activity of “microorganisms”, unless resulting from fire or lightning. Such loss or
            damage is excluded regardless of any other cause or event, including a “mistake”,
            “malfunction”, or weather condition, that contributes concurrently or in any
            sequence to the loss, even if such other cause or event would otherwise be
            covered.

            But if a result of one of these excluded causes of loss is a “specified cause of
            loss”, other than fire or lightning, we will pay that portion of the loss or damage
            which was solely caused by that “specified cause of loss”.



   2
     Similar coverage is afforded for “extra expense” the insured incurs—i.e., “operating expenses
   you incur during the ‘period of restoration’ that would not have been necessary to incur if there
   had been no direct physical loss or damage to property,” as more fully defined in the Policy.
   (Policy, ECF 1-1 at 50, 125.)
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            We will also not pay for loss, cost, or expense arising out of any request, demand,
            order, or statutory or regulatory requirement that requires any insured or others to
            test for, monitor, clean up, remove, treat, detoxify, or neutralize, or in any way
            respond to, or assess the effects of “microorganisms”.

   Id. at 67.3 “Microorganism” is defined as “any type or form of organism of microscopic or

   ultramicroscopic size including, but not limited to, “fungus”, wet or dry rot, virus, algae, or

   bacteria, or any by-product.” Id. at 52 (emphasis added).

            As noted, the Policy also provides limited coverage for lost business income when

   operations are suspended due to direct physical loss or damage to covered property caused by

   microorganisms, if the microorganisms are the result of an otherwise covered cause of loss. The

   “Business Income Coverage Form” provides:

            8. Microorganisms

            We will pay for the actual loss of “business income” you sustain due to the:

            a. Necessary “suspension” of your “operations” from direct physical loss of or
            damage to Covered Property caused by “microorganisms” when the
            “microorganisms” are the result of a “covered cause of loss”; or

            b. Prolonged “period of restoration” due to the remediation of “microorganisms”
            from a covered loss.

            The most we will pay under this Additional Coverage in any one policy year is
            the Annual Aggregate Limit of Insurance shown on the Declarations for
            Microorganisms--Business Income. Regardless of the number of claims, this
            Limit of Insurance is the most we will pay for the total of all loss, even if the
            “microorganisms” continue to be present, active, or recur.

   Policy, ECF 1-1 at 117-18. This additional coverage is subject to an annual aggregate limit of

   liability of $100,000—a small limit compared to the $6.5 million limit applicable to business

   interruption due to other causes. Id. at 23, 27. Similarly, under the “Additional Coverages



   3
     Under the exclusion, if a “specified cause of loss” results from microorganisms, loss or damage
   from that “specified cause of loss” is not excluded. The term “specified cause of loss” includes
   things like explosion, windstorm, and riot or commotion. Policy, ECF 1-1 at 61-62. None of the
   “specified causes of loss” is at issue here.
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   Form” (id. at 74), the Policy provides coverage for direct physical loss of or damage to covered

   property when microorganisms are the result of an otherwise covered cause of loss:

            14. Microorganisms

            We will pay the following when “microorganisms” are the result of a “covered
            cause of loss”, other than fire or lightning:

            a. Direct physical loss of or damage to Covered Property caused by
            “microorganisms”, including the cost of removal of the “microorganisms”;

            b. The reasonable cost to tear out and replace any part of the covered building or
            other property needed to gain access to the “microorganisms”; and

            c. The reasonable cost of testing performed after removal, repair, replacement, or
            restoration of the damaged property is completed, provided there is a reason to
            believe that the “microorganisms” are still present.

            The most we will pay under this Additional Coverage in any one policy year is
            the Annual Aggregate Limit of Insurance shown on the Declarations for
            Microorganisms. Regardless of the number of claims, this Limit is the most we
            will pay for the total of all loss, damage, or cost, even if the “microorganisms”
            continue to be present, active, or recur.

            The Limit for this Additional Coverage is included in, and not in addition to, any
            other applicable Limits of Insurance.4

   III.     ARGUMENT AND LEGAL AUTHORITY

            A.     Legal Standard

            This Court on a motion to dismiss should consider “the well-pleaded factual allegations,

   documents central to or referenced in the complaint, and matters judicially noticed.” See La

   Grasta v. First Union Securities, Inc., 358 F.3d 840, 845 (11th Cir. 2004). “A copy of a written

   instrument that is an exhibit to a pleading is a part of the pleading for all purposes,” including the

   Court’s consideration of a motion to dismiss. Fed. R. Civ. P. 10(c); see Horsley v. Feldt, 304

   F.3d 1125, 1134-35 (11th Cir. 2002). Moreover, to the extent that any of a party’s allegations

   conflict with the exhibit, “the exhibit controls.” Hoefling v. City of Miami, 811 F.3d 1271, 1277


   4
     The limit of liability for this additional coverage when microorganisms are the result of an
   otherwise covered cause of loss is an annual aggregate limit of $100,000. ECF 1-1 at 27.
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   (11th Cir. 2016).      Furthermore, legal conclusions in a complaint are not entitled to the

   assumption of truth.” Ashcroft v. Iqbal, 556 U.S. 662, 664 (2009). In fact, “conclusory

   allegations, unwarranted factual deductions or legal conclusions masquerading as facts will not

   prevent dismissal.” Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003).

            Under Florida law, the insured has the initial burden of proving that its claim falls within

   the policy’s affirmative grant of coverage. The insurer has the burden of proving an exclusion

   applies.      LaFarge Corp. v. Travelers Indem. Co., 118 F.3d 1511, 1516 (11th Cir. 1997).

   Accordingly, to state a valid cause of action, Plaintiff’s Complaint must allege ultimate facts that

   bring its claims within the Policy’s coverage.

   Moreover, Florida courts interpret insurance contracts as a matter of law, construing insurance

   policy terms “in accordance with the plain language of the policies as bargained for by the

   parties … and the plain language of the policy will be given the meaning it clearly expresses.”

   Nova Cas. Co. v. Waserstein, 424 F. Supp. 2d 1325, 1333 (S.D. Fla. 2006) (citations omitted);

   Spellberg v. N.Y. Life Ins. Co., 650 F. App’x 685, 688 (11th Cir. 2016) (“Where the language in

   an insurance contract is plain and unambiguous, a [Florida] court must interpret the policy in

   accordance with the plain meaning so as to give effect to the policy as written.”); Hagel v. First

   Liberty Ins. Corp., 778 F.3d 1214, 1220 (11th Cir. 2015) (“In interpreting insurance policies,

   Florida courts start with the plain language of the policy as bargained for by the parties. If that

   language is unambiguous, it governs.”). Dismissal is appropriate where an insurance policy

   unambiguously excludes coverage of a claimed loss. Grife v. Allstate Floridian Ins. Co., 493 F.

   Supp. 2d 1249, 1251 (S.D. Fla. 2007).

            B.       The Policy’s Microorganisms Exclusion Expressly Excludes Coverage for
                     Plaintiff’s Claimed Loss

            Plaintiff concedes, as it must, that coverage under the Policy must be premised on a

   “covered cause of loss.”       See FAC ¶¶ 21, 27, 39, 40. And one of the specifically listed
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   “Excluded Causes of Loss” is the presence, growth, proliferation, spread, or any activity of virus,

   as stated in the microorganism exclusion.

            Whereas Plaintiff’s original Complaint centered on the Policy’s Real and Personal

   Property Coverage Form and the Business Income Coverage Form, the FAC appears to have

   pivoted to the Policy’s additional coverage for microorganism damage. Plaintiff apparently

   seeks this Court’s assistance in transforming this limited additional coverage (with a maximum

   limit of liability of $100,000) to a catch-all for all business income losses caused by the COVID-

   19 virus and pandemic up to the Policy’s full limit. FAC ¶ 61. But this additional coverage does

   not apply here because it is expressly limited to circumstances where microorganisms “are the

   result” of an otherwise “covered cause of loss.” Plaintiff’s FAC, on the other hand, clearly

   alleges that the COVID-19 virus is the cause of its loss. And because the Policy excludes the

   presence, growth, proliferation or spread of a virus as a covered cause of loss, the Policy affords

   no coverage for Plaintiff’s claims.

                  1.      According to the Policy’s Plain Language, Loss or Damage Directly or
                          Indirectly Caused by a Virus Such as the COVID-19 Virus Is Not a
                          Covered Cause of Loss.

            Plaintiff seeks coverage for “damages and/or loss of business income caused by the

   presence of COVID-19 which occurred as a result of the COVID-19 pandemic and Emergency

   Order 20-01 et seq.” FAC ¶¶ 30-31. See also id. ¶ 27 (alleging the COVID-19 pandemic as the

   purported “covered cause of loss”). Unlike the original complaint, the FAC references only the

   “additional coverages” relating to “microorganisms”—but, as noted, these provisions, too,

   require a “covered cause of loss.”5


   5
    Plaintiff appears to have abandoned in the FAC (at least overtly) seeking coverage under the
   Policy’s “Real and Personal Property Coverage Form” and the “Business Income Coverage
   Form,” other than the specific “additional coverages” for microorganism damage. In the “Real
   and Personal Property Coverage Form,” Zurich agreed as follows, “We will pay for direct
   physical loss of or damage to ‘real property’ and ‘personal property’ at a ‘premises’ directly
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            The Policy defines the term “covered cause of loss” as “a fortuitous cause or event, not

   otherwise excluded, which actually occurs during this policy period.” Policy, ECF 1-1 at 47

   (emphasis added), cited in FAC ¶ 21. Under “Excluded Causes of Loss,” the Real and Personal

   Property Form identifies “microorganisms” as an excluded cause of loss, specifically, “We will

   not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or

   aggravated by the presence, growth, proliferation, spread or any activity of “microorganisms,”

   unless resulting from fire or lightning,” id. at 67, and “microorganisms” is defined to include

   “virus,” id. at 52. In addition, the exclusions in the Real and Personal Property Coverage form

   specifically apply to the Business Income Coverage Form (with certain enumerated exceptions

   inapplicable here, for example, with respect to “Fine arts” or “outdoor trees”). Id. at 119 (“the

   excluded causes of loss in the REAL AND PERSONAL PROPERTY COVERAGE FORM . . .

   apply to loss of ‘business income’ caused by or result from loss of or damage to any property”).

   See also id. at 86 (“the excluded causes of loss, exclusions, terms, and conditions of the

   applicable Coverage Forms apply to these Additional Coverages”).

            The Policy thus expressly states that “microorganisms”—a term specifically defined to

   include viruses—are excluded as a “covered cause of loss” for purposes of establishing coverage

   under the Real or Personal Property Coverage Form or the Business Income Coverage Form,


   caused by a ‘covered cause of loss.’ ” Policy, ECF 1-1 at 65 (emphasis added). Similarly, in the
   Business Income Coverage Form, Zurich agreed to pay for actual loss of business income for the
   necessary suspension of the insured’s operations caused by direct physical loss of or damage to
   property at the insured’s premises, but “The loss or damage must be directly caused by a
   ‘covered cause of loss.’ ” Id. at 116 (emphasis added). Finally, the “civil authority” coverage,
   under the “Additional Coverages” section of the Business Income Coverage Form, provides that
   Zurich will pay for actual loss of business income sustained resulting from suspension of the
   insured’s operations caused by an order of civil authority prohibiting access to the insured’s
   premises, if the order results from direct physical loss of or damage to property within one mile
   of the insured’s premises, but “The loss or damage must be directly caused by a ‘covered cause
   of loss.’ ” Id. (emphasis added). As Plaintiff no longer seeks coverage under these provisions,
   Zurich does not address them, but no coverage is afforded under them, in any event, because the
   microorganism exclusion excludes the presence of “virus” as a covered cause of loss.
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   including as respects the additional coverages cited in Plaintiff’s FAC. Although Plaintiff

   inexplicably suggests that the COVID-19 virus is not actually a virus within the meaning of the

   microorganisms exclusion (FAC ¶ 59), there is not a shred of law or logic to support such a

   tortured reading. Indeed, adopting Plaintiff’s reading would contradict Florida law.6

            Courts in Florida and elsewhere have repeatedly upheld exclusions similar to the

   microorganism exclusion in the Policy.7 The Middle District of Florida held that a policy with a

   similar exclusion clearly precluded coverage for business income loss arising out of Florida’s

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     “Florida courts start with the plain language of the policy as bargained for by the parties. If that
   language is unambiguous, it governs.” Hagel v. First Liberty Ins. Corp., 778 F.3d 1214, 1220
   (11th Cir. 2015); Grife, 493 F. Supp. 2d at 252 (Florida law requires that insurance contracts be
   interpreted according to their plain meaning, and courts “should not strain to find ambiguity
   when the policy’s plain meaning clearly excludes coverage”). “Furthermore, courts must
   construe an insurance contract in its entirety, striving to give every provision meaning and
   effect.” Gas Kwick, Inc. v. United Pacific Ins. Co., 58 F.3d 1536, 1539 (11th Cir. 1995);
   Spellberg, 650 F. App’x at 688 (same). Courts must also review an insurance policy’s exclusion
   provisions within the context of all of the policy’s provisions and reject an insured’s attempt to
   “limit [the court’s] attention to only the words it selects to make its case.” Burlington Ins. Co. v.
   Industrial Steel Fabricators, Inc., 387 F. App’x 900, 904 (11th Cir. 2010).
   7
     See, e.g., Boxed Foods Co., LLC v. California Capital Ins. Co., -- F. Supp. 3d --, 2020 WL
   6271021, at *4 (N.D. Cal. Oct. 26, 2020), as amended (Oct. 27, 2020) (“The Virus Exclusion
   precludes coverage for any loss ‘direct[ly] or indirect[ly]’ caused by a virus because the Policy
   determined that viruses fall outside the scope of the Policy's Covered Causes of Loss”); Founder
   Inst. Inc. v. Hartford Fire Ins. Co., 20-CV-04466-VC, 2020 WL 6268539, at *1 (N.D. Cal. Oct.
   22, 2020) (granting motion to dismiss based on exclusion for loss “caused directly or indirectly
   by ... the ... presence, growth, proliferation, spread or any activity of ... virus”); Travelers Cas.
   Ins. Co. of Am. v. Geragos and Geragos, CV 20-3619 PSG (EX), 2020 WL 6156584, at *4 (C.D.
   Cal. Oct. 19, 2020) (“The Virus Exclusion Provision, which explicitly applies to civil authority
   coverage, also explicitly excludes loss or damage resulting from a virus”); Seifert v. IMT Ins.
   Co., -- F. Supp. 3d --, 2020 WL 6120002, at *4 (D. Minn. Oct. 16, 2020) (“Virus or Bacteria
   Exclusion … precludes coverage for any loss or damage associated with a ‘virus, bacterium, or
   other microorganism that induces or is capable of inducing physical distress, illness or disease’);
   Wilson v. Hartford Cas. Co., -- F. Supp. 3d. --, 2020 WL 5820800, at *7 (E.D. Pa. Sept. 30,
   2020) (enforcing unambiguous exclusion for “loss or damage caused directly or indirectly by ...
   [p]resence, growth, proliferation, spread or any activity of ‘fungi’, wet rot, dry rot, bacteria or
   virus”); Franklin EWC, Inc. v. Hartford Fin. Services Group, Inc., 20-CV-04434 JSC, 2020 WL
   5642483, at *2 (N.D. Cal. Sept. 22, 2020) (granting motion to dismiss where “complaint
   repeatedly alleges that the virus caused and continues to cause the risk of direct physical loss
   required for a Covered Cause of Loss”); Mark’s Engine Co. No. 28 Restaurant, LLC v. The
   Travelers Indemnity Co., 2:20-cv-04423-AB-SK, 2020 WL 5938689, at *5 (C.D. Cal. Oct. 2,
   2020) (enforcing exclusion for “loss or damage caused by or resulting from any virus”).
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   shutdown orders and granted the insurer’s motion to dismiss. Mauricio Martinez, DMD, P.A. v.

   Allied Ins. Co., -- F. Supp. 3d --, 2020 WL 5240218 (M.D. Fla. Sept. 2, 2020). There, as here,

   the policy afforded coverage for business income caused by a “covered cause of loss.” Id. at *1.

   But, as the court stated, “[T]he policy contains an exclusion for loss or damage caused ‘directly

   or indirectly,’ by ‘[a]ny virus, bacterium or other microorganism that induces or is capable of

   inducing physical distress, illness or disease.’ ” Id. at *2. The court concluded, “Because

   Martinez’s damages resulted from COVID-19, which is clearly a virus, neither the Governor’s

   executive order narrowing dental services to only emergency procedures nor the disinfection of

   the dental office of the virus is a ‘Covered Cause of Loss’ under the plain language of the

   policy’s exclusion.” Id. The court dismissed the case with prejudice. Id. at 6; see also Raymond

   H. Nahmad DDS PA v. Hartford Cas. Ins. Co., No. 1:20-cv-22833-BB (S.D. Fla. Nov. 2, 2020)

   (slip op.).

            Applying the same logic as in Mauricio Martinez, the Western District of Texas also

   granted a motion to dismiss brought by an insurer in a case involving claimed losses for closure

   of business due to the COVID-19 pandemic. Diesel Barbershop, LLC. v. State Farm Lloyds, No.

   5:20-cv-461-DAE, 2020 WL 4724305 (W.D. Tex. Aug. 13, 2020). The policy there contained a

   virus exclusion stating, in part, “We do not insure under any coverage for any loss which would

   not have occurred in the absence of one or more of the following excluded events . . . : Virus,

   bacteria or other microorganism that induces or is capable of inducing physical distress, illness

   or disease.” 2020 WL 4724305 at *3. The court held that this exclusion clearly applied to the

   claim for lost business income arising out of business shutdown orders due to COVID-19:

   “While the Orders technically forced the Properties to close to protect public health, the Orders

   only came about sequentially as a result of the COVID-19 virus spreading rapidly throughout the

   community. Thus, it was the presence of COVID-19 in Bexar County and in Texas that was the

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   primary root cause of Plaintiffs' businesses temporarily closing.” Id. at *6. As in Mauricio

   Martinez, the court granted the insurer’s motion to dismiss without leave to amend, finding any

   attempt to amend would be futile. Id. at *7.

            The Circuit Court of Ingham County, Michigan, ruled that a similar virus exclusion

   applied to exclude coverage for claims by two restaurants predicated on the COVID-19

   pandemic and/or the related executive closure orders issued by the Governor of Michigan.

   Gavrilides Mgmt. Co., LLC v. Michigan Ins. Co., No. 20-258-CB-C30 (Mich. Cir. Ct. Ingham

   Cty. July 1, 2020).8 As the court said in rendering its decision at oral argument:

            [D]irect physical loss of or damage to property has to be something with material
            existence. Something that is tangible. Something . . . that alters the physical
            integrity of the property. The complaint here does not allege any physical loss of
            or damage to the property. The complaint alleges a loss of business due to
            executive orders shutting down the restaurants for dining, for dining in the
            restaurant due to the COVID-19 threat.

   Trans. of Hearing at 18:24 – 19:17. As here, the plaintiff claimed that the virus exclusion did not

   apply, because the claimed loss was due to civil authority orders, not a virus. The court rejected

   that argument and rejected the claim that the exclusion was “vague.” See Exhibit 1 at 21:16.

   Responding to the policyholder’s argument that the virus exclusion was vague, the court said,

   “The plaintiff has not adequately explained how the term virus is vague. And in fact, supplies a

   completely workable, understandable, usable definition of the word virus.” Id. at 20:21-24. The

   court continued:

            The argument in this regard really seems to be more that the virus exclusion
            doesn’t apply. And it goes something like this as far as I can tell. . . . the damage
            caused here was really caused by actions of the civil authority to protect public
            health. And then third, therefore, coverage for acts of any person, group,
            organization or governmental body applies. But that argument brings us right
            back to the direct physical loss or damage requirement. Again, going back to the



   8
     The transcript of the hearing and the court’s order are attached hereto as Exhibits 1 and 2,
   respectively.
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            cause of loss special form B, as in boy, exclusions provides that acts of
            government are only covered when they result in a covered cause of loss.

   Id. at 20:24-21:12. The court dismissed the complaint without leave to amend.” Id. at 23:7-11.

            Numerous decisions enforce similar exclusions, including under Florida law. E.g., Nova

   Cas. Co., 424 F. Supp. 2d at 1334-35 (Florida law; finding plain language of policy’s pollutant

   exclusion excluded “living organisms,” microbial populations,” and “microbial contaminants”

   from coverage because they fit definition of “contaminant” in the policy); Clarke v. State Farm

   Fla. Ins., 123 So. 3d 583, 584-85 (Fla. 4th DCA 2012) (affirming decision that the plain language

   of policy’s communicable disease exclusion expressly excluded injuries from the HSV virus

   from coverage); First Specialty Ins. Corp. v. GRS Mgt. Assocs., Inc., No. 08-81356-CIV, 2000

   WL 2524613, at *5 (S.D. Fla. Aug. 17, 2009) (ruling plain language of insurance policy’s

   pollutant exclusion excluded coverage of injuries due to Coxsackie virus, “a viral contaminant

   and a harmful microbe” found in insured’s swimming pool).9

            In the sole federal case to date to deny a motion to dismiss based on the virus exclusion,

   the parties apparently failed to provide the court with the entire policy. See Urogynecology

   Specialist of Florida LLC, v. Sentinel Insurance Company, Ltd., No. 6:20-CV-1174-ORL-22-

   EJK, 2020 WL 5939172, at *4 (M.D. Fla. Sept. 24, 2020) (“Without the corresponding forms

   which are modified by the exclusions, this Court will not make a decision on the merits of the


   9
     See also Williams v. Empls. Mut. Cas. Co., 845 F.3d 891, 905-06 (8th Cir. 2017) (finding plain
   language of insurance policy’s pollution exclusion excluded contaminants radium and coliform
   bacteria from coverage); Certain Underwriters at Lloyd’s London v. Creagh, 563 F. App’x 209,
   211 (3d Cir. 2014) (affirming that insurance policy’s microorganism exclusion that barred claims
   “directly or indirectly arising out of or relating to: mold, mildew, fungus, spores or other
   microorganism of any type, nature, or description, including but not limited to any substance
   whose presence poses an actual or potential threat to human health” excluded coverage for
   damage due to bodily fluids discharged from a dead body that contained bacteria); Hebert v.
   Bardwell, No. 2011 CA 1220, 2012 WL 602128, at *5 (La. Ct. App. 1 Cir. Feb. 10, 2012)
   (affirming grant of insurer’s summary judgment motion because “[t]he language of the policy
   clearly exclude[d] from coverage the transmission of a virus and the exposure to a virus from the
   definition of ‘bodily injury’ ”).
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   plain language of the Policy to determine whether Plaintiff's losses were covered”).          The

   Urogynecology decision is therefore not pertinent or helpful to this Court, which has available to

   it the entire Policy issued to Plaintiff.

            Because all of the coverages available under the Policy require that loss or damage be

   caused by a “covered cause of loss,” and because all of Plaintiff’s claimed losses are caused by,

   directly or indirectly, the COVID-19 virus, there is no “covered cause of loss,” and Plaintiff’s

   FAC fails to state a claim against Zurich. Therefore, the Court should dismiss Plaintiff’s FAC

   with prejudice.

                     2.    Plaintiff’s Attempt to Evade the Microorganism Exclusion Fails
                           Because the COVID-19 Virus Is the Cause of Plaintiff’s Loss, Not the
                           Result of an Otherwise Covered Cause of Loss

            Plaintiff seeks to plead its way around the microorganism exclusion primarily by

   invoking limited additional coverage for loss or damage due to microorganisms, when they are

   the result of an otherwise covered cause of loss. FAC ¶¶ 39-44. Plaintiff suggests that the fact

   that the Policy has both a microorganism exclusion and limited coverage for microorganism

   damage makes it inconsistent or ambiguous, such that the Policy should be interpreted in favor of

   coverage. Id.

            This Court should reject Plaintiff’s attempt to evade the microorganism exclusion by

   injecting confusion or ambiguity into the Policy where there is none. The Policy makes a very

   clear distinction between cause and result when it comes to loss or damage associated with

   microorganisms. When microorganisms are the cause of loss or damage, they are an excluded

   cause of loss, and no coverage is available. But when an otherwise covered cause of loss occurs

   that results in microorganism damage—for example, a water pipe breaks, causing water damage

   and resulting mildew damage—the policy affords coverage, subject to a $100,000 sublimit for

   the microorganism damage. All of the coverage provisions in the Policy that extend coverage for


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   microorganism-related damage make clear that they apply only when microorganisms “are the

   result of a ‘covered cause of loss.’” Policy, ECF 1-1 at 79 (Additional Coverages Form)

   (emphasis added); id. at 117 (Business Income Coverage Form). Microorganisms themselves are

   not a “covered cause of loss,” because these coverage forms make clear that what is an

   “Excluded Cause of Loss” still applies. Id. at 74 (Additional Coverages Form; id. at 119

   (Business Income Coverage Form).

            An insurance policy is not ambiguous simply because it grants coverage in some

   circumstances and excludes coverage in others, as that is “the very nature of an insurance

   contract.” Ajax Bldg. Corp. v. Hartford Fire Ins. Co., 358 F.3d 795, 798-99 (11th Cir. 2004).

   Indeed, the Policy’s terms do not conflict, and there is no ambiguity. When the microorganism

   provisions Plaintiff cites as the source of ambiguity are read within the context of the entire

   insurance contract, as they must be, giving every provision meaning and effect, the Policy’s

   terms are harmonious. The plain language of the Policy provides limited coverage for

   “microorganisms” when they are the result of an otherwise covered cause, but excludes viruses

   such as the SARS-CoV-2 virus when they are the cause of loss themselves. A cause of loss or

   damage cannot also be the result of loss or damage—to suggest otherwise, as Plaintiff does, is

   absurd. Unless the microorganism additional coverage is triggered subject to its $100,000

   annual aggregate sublimit, there is never—in this policy by its plain terms—any coverage for

   microorganisms including virus. Nor should the fact that the Policy affords a policyholder a

   limited $100,000 additional coverage (when those terms are met) nullify in any respect the rest

   of the terms of policy.

            Accordingly, there is no basis for Plaintiff’s effort to sow confusion over what the Policy

   covers and does not cover with respect to microorganisms. As applied here, there is no question

   as to how the COVID-19 virus is implicated in Plaintiff’s claimed losses: Plaintiff directly

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   alleges “Direct, resultant, and/or ensuing damages and/or loss of business income caused by the

   presence of COVID-19 which occurred as a result of the COVID-19 pandemic and Emergency

   Order 20-01.” Compl. ¶¶30, 31 (emphasis added). Because Plaintiff alleges that its losses were

   caused by the presence of COVID-19 virus and resulting pandemic, it pleads an excluded cause

   of loss, and it does not plead that virus damage resulted from some other cause that is covered.

   The Court therefore should reject Plaintiff’s claim that the Policy covers its loss here under

   coverage provisions applicable to “microorganisms” or that the Policy is somehow ambiguous.

            C.     Loss Or Damage Due To A Virus Is Excluded Regardless Of Any Other
                   Cause Or Event That Contributes Concurrently Or Sequentially To The
                   Loss Or Damage

            The microorganism exclusion contains an “anti-concurrent causation” clause which

   provides:

            Such [virus] loss or damage is excluded regardless of any other cause or event,
            including a “mistake”, “malfunction”, or weather condition, that contributes
            concurrently or in any sequence to the loss, even if such other cause or event
            would otherwise be covered.

   Policy, ECF 1-1 at 67 (emphasis added).). Therefore, even if Plaintiff claims that its claimed

   loss was caused by a shutdown order rather than the virus, that order contributed with the

   COVID-19 virus “concurrently or in any sequence to the loss,” and the microorganism exclusion

   still excludes “virus” as an excluded cause of loss.

            Florida courts routinely enforce anti-concurrent causation clauses. Paulucci v. Liberty

   Mut. Fire Ins. Co., 190 F. Supp. 2d 1312, 1319-20 (M.D. Fla. 2002) (concluding “…that, under

   Florida law, parties can contract around the concurrent cause doctrine through an express anti-

   concurrent cause provision.”)10; see also Hatch v. GeoVera Specialty Ins. Co., No. 6:17-cv-2142-

   Orl-41DCI, 2019 WL 2515926, at *4 (M.D. Fla. June 18, 2019) (same); Liberty Mut. Fire Ins.

   10
      In Paulucci, the anti-concurrent cause language was similar to the language here: “Such ‘loss’
   is excluded regardless of any other cause or event that contributes concurrently or in any
   sequence to the ‘loss.’” 190 F. Supp. 2d at 1317.
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   Co. v. Martinez, 157 So. 3d 486, 487 n.1 (Fla. 5th DCA 2015) (same). Notably, in the first-party

   context, the Eleventh Circuit, applying Florida law, has held that the plain language of a policy

   that excluded coverage for mold “regardless of whether any other cause, event, material or

   product contributed concurrently or in any sequence to such injury or damage,” excluded

   application of Florida’s efficient proximate cause doctrine to mold claims and, thus, the insurer

   did not have a duty to defend and indemnify the insured in a lawsuit brought by renters who

   alleged that the insured’s failure to build a vapor barrier caused their mold-related damages and

   injuries. Empire Indem. Ins. Co. v. Winsett, 325 F. App’x 849, 851-52 (11th Cir. 2009).

            In Diesel Barbershop, the court applied a similar anti-concurrent causation clause,

   concluding that “the [shutdown] Orders only came about sequentially as a result of the COVID-

   19 virus spreading rapidly throughout the community,” making the Virus Exclusion still

   applicable. 2020 WL 4724305 at *6. Accord Seifert, 2020 WL 6120002, at *4 (“the virus

   exclusion would extend ‘to all losses where a virus is part of the causal chain’”) (citing Turek

   Enters., Inc. v. State Farm Mut. Auto. Ins. Co., No. 20-11655, 2020 WL 5258484, at *8–9 (E.D.

   Mich. Sept. 3, 2020)); Wilson, 2020 WL 5820800, at *8 (“Even assuming that the governmental

   closure orders are a separate cause of loss, the virus exclusion would still bar coverage because

   of the anti-concurrent causation clause in the virus exclusion”).

            In summary, Plaintiff alleges facts placing the losses squarely within the ambit of the

   microorganism exclusion. Accordingly, Plaintiff’s claim fails as a matter of law, and this Court

   should grant Zurich’s Motion and dismiss the FAC with prejudice.

            D.     Plaintiff’s FAC Does Not Plausibly Allege Direct Physical Loss of or Damage
                   to Property

            The two microorganism damage coverage provisions cited in Plaintiff’s FAC each

   requires “direct physical loss of or damage to” property caused by microorganisms, but only

   when they are the result of a covered cause of loss. See FAC ¶¶ 25, 26. Indeed, this baseline
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   requirement of direct physical loss of or damage to property is a thread running through all of the

   coverage provisions relating to business income losses, including those for which Plaintiff

   apparently no longer seeks coverage.        See p.4 above.     In an attempt to meet this Policy

   requirement, Plaintiff’s FAC (at ¶ 27) asserts that “the COVID-19 pandemic, a fortuitous event

   meeting the criteria of a ‘covered cause of loss,’ resulted in the presence of COVID-19 at the

   Subject Property which, in turn, caused direct physical loss and resultant/ensuing damages.”

            Plaintiff’s claim fails as a matter of law because “Florida law and the plain language of

   the Policies reflect that actual, concrete damage is necessary,” and the mere presence of a

   substance that can be removed with normal cleaning is not covered. Infinity, 2020 WL 5791583,

   at *3 (citing Mama Jo’s Inc. v. Sparta Ins. Co., -- F. App’x --, 2020 WL 4782369, at *8 (11th

   Cir. Aug. 18, 2020)). In Mama Jo’s, for example, dust and debris from nearby road construction

   physically migrated to plaintiff’s restaurant, requiring regular cleaning, turning away customers

   and diminishing the restaurant’s business—yet this was insufficient to establish direct

   physical loss of or damage to property. Id. The court held that the injuries were purely

   economic, i.e., the cost of cleaning and the business losses, but these were not caused by direct

   physical loss or damage as required under the policy. Id. (“an item or structure that merely needs

   to be cleaned has not suffered a ‘loss’ which is both ‘direct’ and ‘physical’”).11 See also Uncork

   and Create LLC v Cincinnati Ins. Co., No. 2:20-cv-00401 (S.D. W. Va. Nov. 2, 2020) (slip op. at

   8-9) (finding alleged “actual presence of the virus” insufficient to state a claim for direct physical

   loss of or damage to property “[b]ecause routine cleaning, perhaps performed with greater

   frequency and care, eliminates the virus on surfaces”).




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      The CDC has determined that COVID-19 virus can be eradicated with standard household
   cleaners.
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            So, too, here, Plaintiff has not pleaded plausible facts showing actual, concrete damage

   separate and apart from its purely economic losses from the COVID-19 related governmental

   orders. Numerous district courts in the Eleventh Circuit, including in Florida, have followed

   Mama Jo’s to hold that purely economic losses to business shut down or impaired by COVID-19

   governmental orders are not “direct physical loss of or damage to” property. See, e.g., Hillcrest

   Optical, Inc. v. Contl. Cas. Co., 1:20-CV-275-JB-B, 2020 WL 6163142, at *5 (S.D. Ala. Oct. 21,

   2020) (rejecting insured’s argument that “temporary inability to use property due to

   governmental intervention constituted a direct physical loss of property”); Henry’s Louisiana

   Grill, Inc. v. Allied Ins. Co. of Am., 1:20-CV-2939-TWT, 2020 WL 5938755, at *6 (N.D. Ga.

   Oct. 6, 2020) (holding that Georgia Governor’s Executive Order did not create a “direct physical

   loss of” the Plaintiffs’ dining rooms and noting that plaintiffs’ “interpretation of the contractual

   language exceeds any reasonable bounds of possible construction, pushing the words

   individually and collectively beyond what any plain meaning can support”); Infinity Exhibits,

   Inc. v. Certain Underwriters at Lloyd's London Known as Syndicate PEM 4000, 8:20-CV-1605-

   T-30AEP, 2020 WL 5791583, at *4 (M.D. Fla. Sept. 28, 2020); Malaube, LLC v. Greenwich Ins.

   Co., 20-22615-CIV, 2020 WL 5051581, at *7 (S.D. Fla. Aug. 26, 2020).12

            Plaintiff argues (without justification) that the Policy is ambiguous, but in reality the

   Policy simply does not cover the claimed losses. As the Court concluded in Infinity, 2020 WL

   5791583, at *5, while expressing great sympathy for “Plaintiff and all insureds that experienced

   economic losses associated with COVID-19”:

            There is simply no coverage under the policies if they require “direct physical loss
            of or damage” to property. Here, there is no … coverage because the Amended

   12
      And these cases are in addition to dozens of cases nationwide concluding that similar
   insurance policies do not cover business interruption losses arising out of the COVID-19 virus
   and dismissing similar complaints as a matter of law. A listing of these cases, and copies of
   unreported slip opinions, is attached as Exhibit 3.
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            Complaint fails to allege facts describing how the Property suffered any actual
            physical loss or damage. It is also apparent that any amendment would be futile
            under these circumstances.

            E.     Plaintiff Should Not Be Permitted To Amend Its Complaint Again

            After Zurich filed a motion for judgment on the pleadings, Plaintiff sought and was

   granted leave to file the FAC, so it has already had an opportunity to cure any flaw in its

   pleading. But neither the original complaint, nor the FAC, nor any other amended complaint can

   cure that flaw because the unambiguous, plain language of the Policy excludes the COVID-19

   virus as a “covered cause of loss.” In addition, no amount of artful pleading by Plaintiff can

   convert the purported presence of COVID-19 on its premises into the “direct physical loss of or

   damage to” property that the Policy requires. The Court should, therefore, deny any request by

   Plaintiff that it be permitted to amend its Complaint again. Hall v. United Ins. Co. of America,

   367 F.3d 1255, 1262-63 (11th Cir. 2004) (affirming denial of motion to amend complaint

   because of futility and noting “a district court may properly deny leave to amend the complaint

   under Rule 15(a) when such amendment would be futile.”); Schiller v. Viacom, Inc., No. 1:15-

   cv-22129-UU, 2015 WL 13811187, at *9 (S.D. Fla. Oct. 8, 2015) (finding amendment of

   complaint would be futile because “a more carefully drafted complaint would still fail to state a

   claim”) (citing Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194, 1213 (11th Cir. 2001) (“[I]f a more

   carefully drafted complaint could not state a claim, dismissal with prejudice is proper.”)

   (citations omitted)).

            WHEREFORE, this Court should dismiss the FAC with prejudice for failure to state a

   claim.




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                                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the
   Court this 3rd day of November, 2020 by using the CM/ECF system which will send a notice of
   electronic filing to the following: Michael A. Cassel, Esq., and Hillary B. Cassel, Esq., Cassel &
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